NO. 22-1908

In The

Gnited States Court of Appeals

for the Fourth Circuit

RUDOLPH CAREY III,
Plaintiff-Appellant,

0.

NELSON SMITH, in his official capacity as
Commissioner of the Virginia Department of Behavioral
Health and Developmental Services,

Defendant—Appellee.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA AT ALEXANDRIA

JOINT SUGGESTION OF MOOTNESS

Having conferred, the parties jointly suggest that this case has become
moot during appeal. They jointly ask that the Court vacate the opinions and
judgment of the court below and remand with instructions to dismiss the
case as moot. See United States v. Munsingwear, Inc., 340 U.S, 36 (1950).

BACKGROUND

This case was a constitutional challenge to a Virginia law that provides
that licensed providers of behavioral health and developmental services may
not hire for a “direct care” position a person who has been convicted of a
“barrier crime,” unless an exception is met. Va. Code § 37.2-416(B)(1); see also
id. § 37.2-416(D) (person is excepted from the statute if he has been granted
a simple pardon, 10 years have elapsed since the conviction, and the hiring
provider conducts a screening assessment). One such person was Plaintiff-
Appellant Rudy Carey. In 2018, he was told by the Department of Behavioral
Health and Developmental Services that he could not legally continue
working as a substance-abuse counselor because of a 2004 conviction. In

response, Mr. Carey brought this lawsuit and alleged that the limitation on
his ability to work violated his constitutional rights to substantive due
process and the equal protection of the laws. (JA.007.)

The Department moved to dismiss for both lack of subject-matter
jurisdiction and for failure to state a claim. The district court agreed that it
lacked jurisdiction and entered several related orders. Most important, it
held that Mr. Carey lacked standing and his claims were not ripe because
“there is no indication that [Mr. Carey] has sought and been denied a
pardon.” Ex. 1 at 4-6. Mr. Carey moved for reconsideration. The district
court issued an order holding the motion in abeyance; it later issued an order
denying reconsideration. See generally Exs. 2, 3.

Mr. Carey appealed, and the parties fully briefed whether federal
jurisdiction required a pardon denial. Oral argument is scheduled for
October 26.

Last week, however, Mr. Carey was informed that Virginia’s governor
has now granted him a pardon. Ex. 4. He is thus no longer subject to the

portion of the statute which he was challenging. Instead, he can return to
substance-abuse counseling if he passes a discretionary screening that he is
not now challenging.
ARGUMENT

This appeal concerned whether Mr. Carey had standing when, in the
district court’s view, he had “yet to secure a final decision about his
eligibility.” Ex. 1 at 6. Now that Mr. Carey has been pardoned, however, he
can proceed with attempting to meet the exception that would allow him to
work as a substance abuse counselor despite his prior conviction. Both sides
thus believe there is no longer a live dispute.

The “customary practice when a case is rendered moot on appeal is to
vacate the moot aspects of the lower court's judgment.” Catawba Riverkeeper
Found. v. N.C. Dep’t of Transp., 843 F.3d 583, 589 (4th Cir. 2016). See also, e.g.,
Eden, LLC v. Justice, 36 F.4th 166, 172 (4th Cir. 2022); Hirschfeld v. ATF, 14 F.4th
322, 327 (4th Cir. 2021). That is appropriate here when the case was mooted
not by Mr. Carey as a losing party, but by the independent “happenstance”

of a gubernatorial pardon. Hirschfeld, 14 F.4th at 328. See also Blount v. Clarke,
890 F.3d 456, 461-63 (4th Cir. 2018) (vacating orders rendered moot by
pardon).
CONCLUSION
The parties ask that this Court vacate the attached opinions and the
judgment of the district court and remand with instructions that the case be
dismissed as moot.
Dated: September 15, 2023.
Respectfully submitted,

[s/ Andrew Ward
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CERTIFICATE OF COMPLIANCE

This motion complies with the type-volume limit because, excluding
the parts of the document exempted by Fed. R. App. P. 32(f), it contains 586
words. This motion complies with the type-style requirements because it
was prepared using Microsoft Word 365 in 14-point Palatino Linotype, a
proportionally spaced typeface.
Dated: September 15, 2023.

/s/ Andrew Ward

Andrew Ward
Counsel for Plaintiff—Appellant

Rudolph Carey III v. Nelson Smith
No. 22-1908

EXHIBIT 1

District Court Order Granting Defendant’s
Motion to Dismiss
Case £:21-cv-01090-LO-TCB Document 19 “Fifed-01/18/22 ~ Page 1 of 6 PagéiD# #37

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

)
RUDOLPH CAREY III, )
Plaintiff, )
v. )
)

ALISON LAND, IN HER OFFICIAL CAPACITY AS ) Civil Action No. 1:21-cv-01090

COMMISSIONER OF THE VIRGINIA ) Hon. Liam O’Grady

DEPARTMENT OF BEHAVIORAL HEALTH AND )
DEVELOPMENTAL SERVICES, )
Defendant. )
)
ORDER

This matter comes before the Court on the Motion to Dismiss filed by Defendant Alison
Land in her official capacity as Commissioner of the Virginia Department of Behavioral Health
and Developmental Services. Dkt. 13. Defendant seeks to dismiss Plaintiff Rudolph Carey’s
Complaint, Dkt. 1, pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). For the
reasons that follow, Defendant’s Motion to Dismiss, Dkt. 13, is GRANTED under Federal Rule

of Civil Pr 12

I. BACKGROUND
Plaintiff Rudolph Carey III brings this Complaint as a Fourteenth Amendment challenge
to a Virginia statute preventing people with convictions for any of more than 100 “barrier
crimes” from working as substance-abuse counselors. Plaintiff argues that there is no rational
basis for this prohibition. Dkt. 1 at 2. He seeks a judgment declaring Virginia’s ban
unconstitutional, enjoining its application, and allowing him the chance to resume work in his

prior and preferred profession as a substance-abuse counselor. /d.
Case T:21-ctv-01090-LO-TCB Document 19 “Fifed-01/18/22 Pagé 2 of 6 PagelD#I3&

In the 1990s and early 2000s, Plaintiff abused alcohol and drugs and had a criminal
history. He was convicted of theft and driving on a suspended license several times and spent
about three years in prison for those offenses. /d. at 4. In December 2004, Plaintiff was convicted
of driving on a suspended license, forging a public record, and assault and battery on a law
enforcement officer. Upon his release from prison in 2007, Plaintiff decided to get clean and
change his life. Since then, he has not been convicted of any crimes and states that he has not
used illegal drugs. /d. at 4-5.

Plaintiff began working as a substance-abuse counselor in October 2013, helping others
to get clean as he himself did. He completed 2,000 hours of supervised substance-abuse
counseling and had caseloads as high as 60 clients. He received praise from his supervisor and
even won a counselor of the year award. /d. at 6.

However, in 2018, another rehabilitation facility bought out Plaintiff's employer and
reviewed its legal obligations. It discovered that Plaintiff was ineligible to work as a substance-
abuse counselor and terminated his employment. Under Virginia law, with limited exceptions, if
a prospective employee has ever been convicted of any of 176 “barrier crimes,” the prospective
employee is ineligible to work in a “direct-care” position. The 176 barrier crimes range widely
and include both felonies and misdemeanor. Plaintiff's 2004 conviction of assault and battery on
an official is a barrier crime, and his work as a substance-abuse counselor is a direct-care
position. /d. at 8; see also Va. Code § 37.2-416(B)(1), (B)(4), and (K).

Notably, there is an exception to this ban. An individual convicted of not more than one
felony assault and battery against a law enforcement officer in violation of Virginia Code § 18.2-
57(C) may be hired in a direct care position if he (1) is granted a pardon, (2) more than 10 years

have elapsed since the conviction, and (3) “the hiring provider determines, based upon a
Case T:21-cv-01090-LO-TCB Document 19 “Fifed-61/18/22  Pagé 3 of 6 PagelD#I3sg

screening assessment, that the criminal behavior was substantially related to the applicant’s
substance abuse and that the person has been successfully rehabilitated and is not a risk to
individuals receiving services based on [the individual’s] criminal history background and [...]
substance abuse history.” Va. Code § 37.2-416(D); see Dkt. 14 at 5-6. Plaintiff is ineligible for
this exception at this time because he has not been pardoned. /d. at 6. Notably, while Plaintiff
alleges that he has not been pardoned, he does not allege that he has sought and been denied a
pardon. /d. at 10.

Plaintiff now brings this civil rights action under the Fourteenth Amendment to the
United States Constitution; the Civil Rights Act of 1871, 42 U.S.C. § 1983; and the Declaratory
Judgment Act, 28 U.S.C. § 2201. Dkt. 1 at 3.

Defendant’s Motion to Dismiss argues, inter alia, that Plaintiff's Complaint must be
dismissed under Federal Rule of Civil Procedure 12(b)(1) because Plaintiff lacks standing and
because his claims are not ripe. Dkt. 14 at 8-12. Defendant further argues that Plaintiff fails to
allege an equal protection claim, and that his Complaint must be dismissed under Federal Rule of
Civil Procedure 12(b)(6).

Because the Court finds that Plaintiff lacks standing and his claims are not ripe for review
under Federal Rule of Civil Procedure 12(b)(1), the Court will not proceed to the second step of
analysis regarding whether Plaintiff failed to allege an equal protection claim under Federal Rule
of Civil Procedure 12(b)(6).

II. LEGAL STANDARD

Federal Rule of Civil Procedure 12(b)(1) allows a party to assert the defense of lack of

subject-matter jurisdiction. Fed. R. Civ. P. 12(b)(1). A Court must dismiss a case where the

Court finds that subject matter jurisdiction is lacking. Arbaugh v. Y & H Corp., 546 U.S. 500,
Case T:21-cv-01090-LO-TCB Document 19 “Fifed-01/18/22 ‘Pagé 4 of 6 PagelD#’I40

514 (2006). A Plaintiff bears the burden of proving that subject matter jurisdiction is proper.
United States ex rel. Vuyyuru v. Jadhav, 555 F.3d 337, 347 (4th Cir. 2009).
Ill. DISCUSSION

In the Motion to Dismiss, Defendant argues that Plaintiff lacks standing to bring this
lawsuit and that Plaintiffs claims are not ripe. Dkt. 14 at 2.

To satisfy Article III’s standing requirements, “a plaintiff must show (1) [he] has suffered
an ‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not
conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the
defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed
by a favorable decision.” Friends of Earth, Inc. v. Laidlaw Envil. Servs. (TOC), Inc., 528 U.S.
167, 180-81 (2000).

Furthermore, “[a] case is fit for judicial decision when the issues are purely legal and
when the action in controversy is final and not dependent on future uncertainties.” Miller v.
Brown, 462 F.3d 312, 319 (4th Cir. 2006) (internal citations omitted). “A claim should be
dismissed as unripe if the plaintiff has not yet suffered injury and any future impact ‘remains
wholly speculative.’” Doe v. Va. Dep’t of State Police, 713 F.3d 745, 758 (4th Cir. 2013) (citing
Gasner v. Bd. of Supervisors, 103 F.3d 351, 361 (4th Cir. 1996)).

In Doe v. Virginia Department of State Police, the Fourth Circuit considered a case in
which Plaintiff Doe brought a § 1983 action challenging Virginia state statues that, together,
reclassified her as a sexually-violent offender and prevented her from entering grounds of school
or daycare without first gaining permission of both the state court and the subject school. Va.
Dep’t of State Police, 713 F.3d at 750. The Fourth Circuit reasoned that because “these

consequences do not affect [Plaintiff] with finality, as she has not taken any of the steps
Case T:21-cv-01090-LO-TCB Document 19 “Fifed-61/18/22 “Pagé 5 of 6 PagelD# T4t

necessary to access those properties... any injury... remains hypothetical.” /d. at 754. The Court
held that, because Plaintiff had not attempted to undertake the requisite steps to access these
properties by seeking permission from the state court and subject school, her claims were not
justiciable. /d. at 750.

The same reasoning applies here. Plaintiff notes that he could work in a direct care
position as a substance-abuse counselor by obtaining a pardon and successfully completing a
screening assessment. Dkt. 1 at 8. There is no indication that Plaintiff has sought and been
denied a pardon. Dkt. 14 at 10. Given this, the consequences of Virginia Code § 37.2-416(B)(1),
(B)(4), and (K) do not affect plaintiff with finality and his injury “remains hypothetical.” Va.
Dep’t of State Police, 713 F.3d at 754.

This case is notably distinguishable from the primary cases relied upon by Plaintiff:
Knick v. Township of Scott, 139 S. Ct. 2162 (2019) and the recent Pakdel v. City and County of
San Francisco, 141 S. Ct. 2226 (2021). Although Pakde/ emphasizes “‘the settled rule’ that
“exhaustion of state remedies is not a prerequisite to an action under ... § 1983,’” Pakdel, 141 S.
Ct. at 2230, the Supreme Court’s holdings in both cases relate to actions brought under the Fifth
Amendment Takings Clause. Moreover, the Pakde! Court itself notes that a “plaintiffs failure to
properly pursue administrative procedures may render a claim unripe if avenues still remain for
the government to clarify or change its decision...” Pakdel, 141 S. Ct. at 2231.

Defendant states in her reply that she is not asking this Court to make a ruling at odds
with Pakdel, but rather notes the difference between the finality requirement and traditional
administrative exhaustion. Dkt. 18 at 7. In her Virginia Deparmtnet of State Police concurrence,
Judge Keenan makes the same argument. She writes:

“There is a clear distinction between the requirement that administrative remedies be
exhausted and the requirement that a challenged action be final before it is judicially
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reviewable... Doe is not required to seek a determination in a Virginia forum that her

rights were violated before filing a § 1983 action in federal court... Doe is required,

however, to petition a Virginia circuit court and the local school board, in their capacities
as ‘initial decisionmaker[s],’ to determine whether and under what conditions she will be

granted access to school property.” Va. Dep’t of State Police, 713 F.3d at 762-63

(Keenan, J., concurring).

The same reasoning applies to Plaintiff's case here. Although Plaintiff need not exhaust
state remedies prior to filing a § 1983 claim, he must at least comply with the Virginia state
statute to determine his eligibility to work as a substance-abuse counselor. As the Fourth Circuit
stated: “[t]he principles of federalism and comity counsel in favor of providing at least an
opportunity for the processes provided for by Virginia’s statute to address Doe’s claims before
intervening,” Va. Dep't of State Police, 713 F.3d 753. Here, because Plaintiff has yet to secure a
final decision about his eligibility, he lacks standing and his claims are not ripe for judicial
adjudication.

IV. CONCLUSION

Based on the foregoing analysis, the Court finds that Plaintiff lacks standing, and his
claims are not ripe for review. Therefore, Defendant’s Motion to Dismiss, Dkt. 13, is hereby
GRANTED pursuant to Federal Rule of Civil Procedure 12(b)(1).

The Court sincerely hopes that Plaintiff does indeed seek and receive a pardon, and that

he is able to return to his good and important work in his preferred profession as a substance-

abuse counselor. The Court wishes Plaintiff all the best in this endeavor.

Itis SO ORDERED.

\H@
January ‘S 2022 Liam O"Grady

Alexandria, Virginia United States District Judge

Rudolph Carey III v. Nelson Smith
No. 22-1908

EXHIBIT 2

District Court Order Holding in Abeyance
Plaintiff's Motion for Reconsideration
Case’ T:21-cv-01090-CO-TCB Document 24 “Fifed-65/10/22 “Pagé 1 of 2 PagelD# 2012

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

RUDOLPH Carey III,
Plaintiff,

Vv.

Civil Action No. 1:21-cv-01090
Hon. Liam O’Grady

ALISON LAND, IN HER OFFICIAL CAPACITY AS
COMMISSIONER OF THE VIRGINIA
DEPARTMENT OF BEHAVIORAL HEALTH AND
DEVELOPMENTAL SERVICES,

Defendant.

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Before the Court is a “Motion to Reconsider Dismissal and Amend Complaint” brought
by Plaintiff Rudolph Carey, III. Dkt. 20. Defendant Alison Land, acting in her official capacity
as Commissioner of Virginia Department of Behavioral Health and Developmental Services, has
responded in opposition, Dkt. 22, and Plaintiff has replied in support, Dkt. 23.

Plaintiff previously brought a Complaint in this Court. Dkt. 1. He asserted a Fourteenth
Amendment challenge to a Virginia statute that prevented people with convictions for any of
more than 100 “barrier crimes” from working as substance-abuse counselors. Plaintiff alleged
that there was no rational basis for the prohibition. Dkt. | at 2. He sought a judgment declaring
Virginia’s ban unconstitutional, enjoining its application, and allowing him the chance to resume
work in his prior and preferred profession as a substance-abuse counselor. /d.

Upon the Defendant’s Motion, Dkt. 13, the Court dismissed Plaintiff's Complaint
pursuant to Federal Rule of Civil Procedure 12(b)(1). Dkt. 19. The Court noted that, although
Plaintiff acknowledged that he could work in a direct care position as a substance-abuse
counselor by obtaining a pardon and successfully completing a screening assessment, see Dkt. 1

at 8, there was no indication in his Complaint that Plaintiff had sought and been denied a pardon,
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see Dkt. 14 at 10. The Court therefore held that Plaintiff lacked standing and that his claims
were not ripe for review. Dkt. 19 at 6.

Plaintiff now brings the instant Motion to Reconsider Dismissal and Amend Complaint.
Dkt. 20. In the Motion, among other things, Plaintiff requests leave to allege additional facts
about the pardon process. /d. at 7-9. Plaintiff now explains that he in fact did petition the
Governor of Virginia for a pardon in 2018, just after the Department forced him from his job.
Although more than three years have passed, that petition for a pardon remains pending. See id.
at 7-8.

Plaintiff's matter in this Court is inexorably tied to his pardon application with the
Governor. Therefore, the Governor is directed to prioritize Rudolph Carey III’s pardon
application. The Court will hold its ruling on this matter in abeyance until the Governor rules on
Plaintiff's pardon application.

As noted, Plaintiff's pardon application has been pending for more than three years. The
Court previously stated that it sincerely hoped that Plaintiff is able to return to his good and
important work in his preferred profession as a substance-abuse counselor, see Dkt. 19 at 6, and
reiterates that hope here. The Court expects that the Governor will address this important matter

promptly.

Woy
May!O_, 2022 Liam O*Gyady
Alexandria, Virginia United States District Judge

to
Rudolph Carey III v. Nelson Smith
No. 22-1908

EXHIBIT 3

District Court Order Denying Plaintiff's Motion
for Reconsideration
Case 1721-cv-01090-LO-TCB Documént 29 “Filed 08/01/22 Page 1 of 2 PagelD#Z20

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

)
RUDOLPH CAREY III, )
Plaintiff, )
v. )
)

ALISON LAND, IN HER OFFICIAL CAPACITY AS __) Civil Action No. 1:21-cv-01090

COMMISSIONER OF THE VIRGINIA ) Hon. Liam O’Grady

DEPARTMENT OF BEHAVIORAL HEALTH AND )
DEVELOPMENTAL SERVICES, )
Defendant. )
)
ORDER

Before the Court is Plaintiff's Second Motion for a Hearing in the above-captioned
action. Dkt. 28.

This Court previously granted Defendant’s Motion to Dismiss under Federal Rule of
Civil Procedure 12(b)(1). The Court found that, because Plaintiff had yet to secure a final
decision on his eligibility to work as a substance abuse counselor through the Virginia pardon
process, Plaintiff did not have standing to bring this lawsuit and that his claims were not ripe.
Dkt. 19. In so ruling, the Court relied upon Doe v. Virginia Department of State Police, 713 F.3d
745 (4th Cir. 2013).

Plaintiff brought a Motion for Reconsideration under Federal Rule of Civil Procedure
59(e). Dkt. 20. In that Motion, Plaintiff argued that his case was controlled not by Doe, but rather
by Hamilton v. Pallozzi, 848 F.3d 614 (4th Cir. 2017). Plaintiff also stated in this Motion that he

in fact did seek a pardon; a fact not discussed in his initial Complaint.
USCA4 Appeal 731! eVo1090%O27CB Document 28“ Piidtrda/0172 “Page? of 2 PAGRIDABAL (0 Of 24)

Finding that “Plaintiffs matter in this Court is inexorably tied to his pardon application
with the Governor,” the Court held the Motion for Reconsideration in abeyance until the
Governor of Virginia ruled on Plaintiff's pardon application. Dkt. 24 at 2.

Plaintiff has since informed the Court that the Commonwealth of Virginia has advised
Plaintiff that it will not be prioritizing Plaintiffs pardon application and cannot provide a
definitive date by which his petition will be decided. See Dkt. 25. Because Plaintiff's pardon
application has now been pending for more than three and a half years, and because the
Commonwealth indicates that Plaintiff must continue to wait indefinitely, Plaintiff has requested
that the Court no longer hold its ruling in abeyance pending Plaintiff's pardon application. See
Dkt. 28 at 1-3.

The Court maintains that Plaintiff's standing in this case is governed by Doe rather than
Hamilton. The Maryland statutes analyzed in Hamilton were an all-out ban for possession of a
firearm for an individual with a disqualifying conviction. The Maryland Legislature had not
created an exception to the prohibition to possess a firearm by expressly stating that the ban was
not in effect if certain conditions were satisfied, such as obtaining a simple pardon. Here, by
contrast, the barrier crime statute at issue contains an exception that would allow Plaintiff to be
employed in a direct care position. See Dkt. 22 at 8-9.

For these reasons, the Court will no longer hold Plaintiff's Motion for Reconsideration in
abeyance. Rather, the Motion for Reconsideration, Dkt. 20, is DENIED. Plaintiff's Second
Motion for a Hearing, Dkt. 28, is DENIED.

It is SO ORDERED.

Lor
August \ 2022 Liam O’ Grady
Alexandria, Virginia United States District Judge

tN
Rudolph Carey III v. Nelson Smith
No. 22-1908

EXHIBIT 4

Order from Governor Glenn Youngkin
Granting Pardon to Rudolph Carey III
USCA4 Appeal: 22-1908 Doc: 39-2 Filed: 09/26/2023 Pg: 22 of 24

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COMMONWEALTH of VIRGINIA

Executive Department

TO ALL TO WHOM THESE PRESENTS SHALL COME --- GREETINGS:

WHEREAS, at a hearing held in and for the General District Court of the County of Henrico on
March 22, 1994, Rudolph Henry Carey, II, was sentenced after being convicted of Larceny in violation
of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the General District Court of the County of Hanover on
July 21, 1998, Rudolph Henry Carey, III, was sentenced after being convicted of Larceny in violation
of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the General District Court of the City of Richmond on
April 13, 1999, Rudolph Henry Carey, ITI, was sentenced after being convicted of Possession of
Alcohol in an Open Container in violation of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the General District Court of the County of King William on
July 22, 1999, Rudolph Henry Carey, I11, was sentenced after being convicted of Unauthorized Use of a
Vehicle in violation of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the General District Court of the County of King William on
July 22, 1999, Rudolph Henry Carey, TI, was sentenced after being convicted of Drive after Being
Declared a Habitual Offender in violation of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on
February 24, 2000, Rudolph Henry Carey, III, was sentenced after being convicted of Larceny — Third
or Subsequent Offense in violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on
February 13, 2001, Rudolph Henry Carey, I, was sentenced after being convicted of Probation
Violation in violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the General District Court of the County of King William on
July 20, 2000, Rudolph Henry Carey, III, was sentenced after being convicted of Petit Larceny in
violation of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the General District Court of the City of Richmond on
November 15, 2000, Rudolph Henry Carey, HI, was sentenced after being convicted of Operate a
Motor Vehicle After Being Declared a Habitual Offender in violation of Virginia law (misdemeanor); and
USCA4 Appeal: 22-1908 Doc: 39-2 Filed: 09/26/2023 Pg: 23 of 24

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WHEREAS, at a hearing held in and for the General District Court of the County of King William on
March 22, 2001, Rudolph Henry Carey, III, was sentenced after being convicted of Probation Violatton
in Violation of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on October 16, 2002,
Rudolph Henry Carey, III, was sentenced after being convicted of Grand Larceny in violation of
Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on October 16, 2002,
Rudolph Henry Carey, III, was sentenced after being convicted of Operate a Motor Vehicle After Being
Declared a Habitual Offender 2™ or subsequent offense in violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on October 16, 2002,
Rudolph Henry Carey, III, was sentenced after being convicted of Possession of Marijuana violation of
Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Stafford on

September 16, 2004, Rudolph Henry Carey, III, was sentenced after being convicted of Operate a
Motor Vehicle After Being Declared a Habitual Offender 2" or subsequent offense violation of Virginia
law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the City of Fredericksburg on
January 5, 2005, Rudolph Henry Carey, III, was sentenced after being convicted of Operate a Motor
Vehicle After Being Declared a Habitual Offender violation of Virginia law (misdemeanor); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on
September 9, 2004, Rudolph Henry Carey, III, was sentenced after being convicted of Revocation of
Suspension Sentence (19.2-306 code of Virginia) violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on
September 9, 2004, Rudolph Henry Carey, FEI, was sentenced after being convicted of Revocation of
Suspension Sentence (19.2-306 code of Virginia) violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Stafford on
September 16, 2004, Rudolph Henry Carey, IIL, was sentenced after being convicted of Failure to
Appear on a Felony Charge violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on
December 14, 2004, Rudolph Henry Carey, III, was sentenced after being convicted of Assault and
Battery of a Police Officer violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on
December 14, 2004, Rudolph Henry Carey, ITI, was sentenced after being convicted of Forgery of a
Public Record violation of Virginia law (felony); and

WHEREAS, at a hearing held in and for the Circuit Court of the County of Henrico on

December 14, 2004, Rudolph Henry Carey, III, was sentenced after being convicted of Operate a Motor
Vehicle After Being Declared a Habitual Offender 2" or subsequent offense violation of Virginia law
(felony); and
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WHEREAS, at a hearing held in and for the General District Court of the County of Henrico on
October 6, 2004, Rudolph Henry Carey, III, was sentenced after being convicted of Obstructing Justice
violation of Virginia law (misdemeanor); and

WHEREAS, all costs, fines, and other sentence obligations have been met and civil rights have been
restored; and

WHEREAS, it appears that Rudolph Henry Carey, IIT, is a fit subject for clemency having provided
evidence of a commendable adjustment and having received a favorable recommendation by the Virginia
Parole Board;

NOW, THEREFORE, I, Glenn Youngkin, Governor of the Commonwealth of Virginia, by virtue of the
authority vested in me, grant Rudolph Henry Carey, III, a Simple Pardon.

This action represents official forgiveness for the crimes committed but shall not represent expungement
of the criminal record.

Given under my hand and under the Lesser Seal
of the Commonwealth at Richmond, this

8"" day of August in the year of Two Thousand
and Twenty-Three, the 248" year of the
Commonwealth.

the nwealth
